Case 4:17-cv-00548-.]ED-FHI\/| Document 2-1 Filed in USDC ND/OK on 09/28/17 Page 1 of 32

"'" OKLAHOMA

" j State Courts NBtWOFk

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The information on this page is NOT an official record. Do not rely on the correctness or completeness of this information.
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Oklahoma Open Records Act, 51 O.S. 24A.1. Use of this information is governed by this act, as Wel| as other applicable state
and federal |aws.

lN THE DlSTRlCT COURT lN AND FOR TULSA COUNTY, OKLAHOMA

TERRY PH|LLlP CROW,

. 4 141
Pmmnm N° CJ 01 3 6

V (Civil relief more than $10,000: STRlCT L|AB|L|TY)

OLD REPUBL|C GENERAL lNSURANCE
CORPORAT|ON,
Defendant, and
GALLAGHER BASSETT SERV|CES lNC,
Defendant.

Filed: 08/30/2017

Judge: Kuehn, Dana

PARHES

CROW, TERRY PH|LL|P, Plaintiff
GALLAGHER BASSETT SERV|CES lNC, Defendant
OLD REPUBL|C GENERAL lNSURANCE CORPORAT|ON, Defendant

AJTORNEYS
Attorney Represented Parties
ROBERTS, CURT|S (Bar#19923) OLD REPUBL|C GENERAL lNSURANCE CORPORAT|ON,

900 W|LL|A|\/|S CENTER TOWER ||
2 WEST 2ND STREET
TULSA, OK 74103

Sl\/|OLEN, DONALD E ll (Bar #19944) CROW, TERRY PH|LL|P
Sl\/|OLEN,Sl\/lOLEN & ROYT|\/lAN PLLC

701 S C|NC|NNAT| AVE

TULSA, OK 74119

EVENTS

None

|SSUES EleBlT

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For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.

Case 4:17-cv-00548-.]ED-FHI\/| Document 2-1 Filed in USDC ND/OK on 09/28/17 Page 2 of 32
issue #1. |ssue: STRlCT L|AB|L|TY (L|ABLE)

Filed By: CROW, TERRY PH|LLlP
Filed Date: 08/30/2017

Party Name Disposition lnformation

Defendant:
OLD REPUBL|C GENERAL lNSURANCE CORPORAT|ON

Defendant: GALLAGHER BASSETT SERV|CES lNC

DOCKET

Date Code Description Count Party Amount

08-30-2017 TEXT ClV|L REL|EF l\/|ORE THAN $10,000 |NlT|AL F|L|NG. 1

08-30-2017 L|ABLE STRlCT L|AB|L|TY

08-30-2017 D|\/|FE D|SPUTE |\/IED|AT|ON FEE $ 7.00

08-30-2017 PFE1 PET|T|ON $163.00
Document Available (#1037893454) @TlFF l,§,|PDF

08-30-2017 PFE7 LAW L|BRARY FEE $ 6.00

08-30-2017 OC|SR OKLAHOMA COURT |NFORl\/|AT|ON SYSTE|\/| $ 25.00
REVOLV|NG FUND

08-30-2017 OCJC OKLAHOMA COUNC|L ON JUD|C|AL CO|\/|PLA|NTS $ 1.55
REVOLV|NG FUND

08-30-2017 OCASA OKLAHOMA COURT APPO|NTED SPEC|AL $ 5.00
ADVOCATES

08-30-2017 SSFCHSCPC SHER|FF'S SERV|CE FEE FOR COURTHOUSE $ 10.00
SECUR|TY PER BOARD OF COUNTY
COl\/|l\/|ISS|ONER

08-30-2017 CCAD|\/||NCSF COURT CLERK AD|\/||N|STRAT|VE FEE ON $ 1.00
COURTHOUSE SECUR|TY PER BOARD OF COUNTY
CO|\/|M|SS|ONER

08-30-2017 CCADl\/||NO155 COURT CLERK ADl\/l|N|STRAT|VE FEE ON $1.55 $ 0.16
COLLECT|ON

08-30-2017 SJF|S STATE JUD|C|AL REVOLV|NG FUND - |NTERPRETER $ 0.45
AND TRANSLATOR SERV|CES

08-30-2017 DCAD|\/||N155 DlSTRlCT COURT AD|\/l|NlSTRAT|VE FEE ON $1.55 $ 0.23
COLLECT|ONS

08-30-2017 DCADl\/||N05 DlSTRlCT COURT AD|\/||N|STRAT|VE FEE ON $5 $ 0.75
COLLECT|ONS

08-30-2017 DCADM|NCSF DlSTRlCT COURT ADl\/|lN|STRATlVE FEE ON $ 1.50

COURTHOUSE SECUR|TY PER BOARD OF COUNTY
COl\/ll\/llSS|ONER

Case 4:17-cv-00548-.]ED-FHI\/| Document 2-1 Filed in USDC ND/OK on 09/28/17 Page 3 of 32

Date Code
08-30-2017 CCADl\/|INO4

08-30-2017 LTF
08-30-2017 Sl\/|F
08-30-2017 S|\/||l\/|A

08-30-2017 TEXT

08-30-2017 ACCOUNT

09-08-2017 S

09-08-2017 S

09-22-2017 A

Description Count Party

COURT CLERK ADl\/||NISTRATIVE FEE ON
COLLECT|ONS

LENGTHY TR|AL FUND
SUl\/ll\/lONS FEE (CLERKS FEE)-Z
SUl\/|l\/lONS |SSUED - l\/|A|LED BY ATTORNEY

OC|S HAS AUTOl\/lAT|CALLY ASS|GNED JUDGE
KUEHN, DANA TO TH|S CASE.

RECE|PT # 2017-3625379 ON 08/30/2017.

PAYOR: Sl\/lOLEN Sl\/|OLEN &ROYTl\/|AN TOTAL
Al\/|OUNT PA|D: $ 252.14.

L|NE |TE|\/lS:

CJ-2017-3461Z $183.00 ON ACO‘l CLERK FEES.
CJ-2017-3461! $6.00 ON AC23 LAW L|BRARY FEE
ClV|L AND CRll\/l|NAL.

CJ-2017-3461! $1.66 ON ACSi COURT CLERK
REVOLV|NG FUND,

CJ-2017-3461: $5.00 ON ACB8 OKLAHOMA COURT
APPO|NTED SPEC|AL ADVOCATES.

CJ-2017-3461: $1.55 ON AC59 COUNC|L ON JUD|C|AL
COI\/IPLA|NTS REVOLV|NG FUND,

CJ-2017-3461: $7.00 ON AC64 DlSPUTE l\/|ED|AT|ON
FEES ClV|L ONLY.

CJ-2017-34611 $0.45 ON ACGS STATE JUD|C|AL
REVOLV|NG FUND, |NTERPRETER SVCS.
CJ-2017-3461: $2.48 ON ACG7 DlSTRlCT COURT
REVOLV|NG FUND,

CJ-2017-346‘l! $25.00 ON AC79 OCIS REVOLV|NG
FUND.

CJ-2017-3461: $10.00 ON AC81 LENGTHY TR|AL
FUND.

CJ-2017-3461: $10.00 ON A088 SHER|FF’S SERV|CE
FEE FOR COURT HOUSE SECUR|TY.

PARTY HAS BEEN SUCCESSFULLY SERVED. / FOR GALLAGHER
GULLAGHER BASSETT SERV|CES LLC / CERT |\/|AlL/ BASSETT
S|GNED G PARR|SH / ON 9-5-17 SERV|CES lNC
Document Available (#1037890103) E=`]T|FF LQPDF

PARTY HAS BEEN SUCCESSFULLY SERVED. OLD OLD REPUBL|C
REPUBL|C GENERAL |NS CORP / BY CERT l\/lAlL/ GENERAL
S|GNED PEGGY KELLY / 9-5-17 lNSURANCE
Document Availab|e (#1037890281) -TlFF L§,|PDF CORPORAT|ON
DEFENDANT GALLAGHER BASSETT SERV|CES GALLAGHER
|NC'S OR|G|NAL ANSWER / CERT|F|CATE OF BASSETT
SERV|CE SERV|CES |NC

Document Unavai|ab|e (#1038300633)

Amount

$ 0.50

$10.00

$ 20.00

Case 4:17-cv-00548-.]ED-FHI\/| Document 2-1 Filed in USDC ND/OK on 09/28/17 Page 4 of 32

Date Code Description Count Party Amount
09-22-2017 A DEFENDANT OLD REPUBL|C GENERAL lNSURANCE OLD REPUBL|C
CORPORAT|ONS' ANSWER TO PLA|NT|FF'S GENERAL
PET|T|ON / CERT OF SERV|CE / COVER SHEET lNSURANCE

Document Unavailab|e (#1038300566) CORPORAT|ON

Case 4:17-cv-ODB48-.].ED-FHI\/| Document 2-1 Filed in USDC ND/OK on 09/28/17 Page 5 of 32

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DlSTRI Tcoum 154 »
F l i_ E

IN THE DISTRICT COURT IN AND FOR TULSA QQHJBWY[]\]

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DON NEWBERR¥. Court Clerk
TERRY PHILLIP cRow, ) ama or oi<LA. TuLsA couer
)
) 0
Plainciff, )“ug.zo 1 7 ._ 3 4 6 1
)
v. )
) ATToRNEY LIEN cLAIMEl)
)
oLD REPUBLIC GENERAL rNsuRANcE ) ...1 , .
coRPoRATIoN, a Foreign Corporation; ) DM“‘A LYNN KJEH`J

AND GALLAGHER BASSETT SERVICES,)

INC., a Foreign Corporation, )
)
Defendants. )

PETITION

COMES NOW the Plaintiff, Terry Phillip Crow, and for his cause of action against the
Defendants, states as follows:
PARTIES. JURISDICTION AND VENUE

1. Plaintiff is a resident of the State of Oklahoma and resides in Tulsa County,

Oklahoma.

2. Defendant Old Republic General Insurance Corporation (“Old Republic”), is a foreign
corporation doing business in Oklahoma With substantial ties to Tulsa County, Oklahom@ w

3. Defendant Gallagher Bassett Services, Inc. (“Gallagher”) is a foreign corporation doing

business in Oklahoma With substantial ties to Tulsa County, Oklahoma. (_:

4. The accident and injury that gave rise to this litigation occurred in Oklahoma County, '~`:*`
Oklahoma. ' l 13

5. As such, this Court has jurisdiction and venue is proper in Tulsa County, Oklahoma.

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STATEMENT OF FACTS

6. Paragraphs 1-5 are incorporated herein by reference.

7. On or around November 9, 2015, Plaintiff Crow was employed by Keystone Services.

8. On said date, Plaintiff Was acting in the course and scope of his employment operating a
motor vehicle heading westbound on Interstate 40 in Oklahoma City.

9. At the same time, one Tanner Cargill Was also heading westbound on Interstate 40 when he
negligently rear-ended Mr. Crow, resulting in serious personal injury to the Plaintiff.

10. The vehicle Plaintiff was operating at the time of his accident was covered by a commercial
insurance policy written by Defendant Old Republic. Said policy included coverage for
uninsured/underinsured motorist (“UM”) benefits.

ll. Plaintiff advised Defendant Old Republic, through Defendant Gallagher, of his intent to
pursue a claim for UM benefits under the applicable policy. Plaintiff was advised that all claims
submitted for UM benefits under the applicable Old Republic policy were administered by a third-
party administrator, Defendant Gallagher.

12. Defendant Gallagher had (and continues to have) a high degree of involvement with
Plaintiff` s claim, including investigating Plaintiff’ s loss and - upon information and belief based on
representations made by Defendants concerning their relationship - had primary control to direct
Plaintiff and determine what payments, if any, would be made under the policy.

13. Upon information and belief that will be confirmed through discovery, Gallagher’s
compensation from Old Republic was, at all times relevant hereto, tied to premiums paid and the
manner in which claims were adjusted, meaning the approval or denial of claims.

14. Upon information and belief that Will be confirmed through discovery, Gallagher assumed

much of the risk for its determinations

Case 4:17-cv-00548-.]ED-FHI\/| Document 2-1 Filed in USDC ND/Ql£r)n 0_9/28/17 Page 7 of 32

15. Plaintiff submitted a UM demand to Defendants Old Republic/Gallagher on or around June
2, 2017. Included within this demand was a copy of all applicable medical records and bills, and a
medical authorization so that Defendants could obtain the relevant medical records independently if
they chose.

16. Notably, the records and bills submitted to Defendants indicated that Plaintiff had incurred
over $140,000 in medical bills and that he had to undergo a two (2) level fusion surgery as a result of
the accident Mr. Cargill’s liability carrier, Liberty Mutual, had already tendered its policy limits of
$100,000 based on these records and bills. Plaintiff requested Defendants either pay the value of the
claim within 30 days, or advise if any additional documentation was needed.

17. Defendants offered $50,000 in satisfaction of Plaintiff’ s claim, asserting that they were not
giving consideration to the medical bills as those were paid by Plaintist employer’s workers’
compensation carrier, Further, Defendants advised that they took issue with causation, citing the fact
that they understood Plaintiff had previously been the victim of assault which, theoretically, could
have caused some kind of pre-existing injury.

18. Plaintiff, by and through his counsel, advised Defendants that in Oklahoma, workers’
compensation was considered a collateral source and could not be considered as an offset in
evaluating Plaintiff’ s UM claim. Further, he pointed out that Plaintiff’s treating neurosurgeon
believed that Plaintiff s injury and need for surgery resulted directly from this accident. He requested
that Defendants reconsider their evaluation of Plaintiff’s claim and advise specifically what they
were and were not considering in their evaluation He also requested that if Defendants needed any
additional information to evaluate Plaintift’ s claim, they let him know.

l9. On August 21, 2017, Defendants advised that they were refusing to reconsider their initial

evaluation and offer, stating “this Was a minor rear end impact accident,” and that they “do not feel

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this impact was significant enough to cause seriously injuries.” They further advised that they
“question any lumbar spine injuries from this accident given the mechanisms of a rear end impact”
as “biomechanical experts have testified that the lumbar spine is most supported in a rear end
collision.” Defendants failed to provide any opinion by any physician or expert relative to the actual
facts and records in this case.

20. In arriving at the amount due and owing to Plaintiff, Defendants, by and through their agents,
unreasonably considered specious, theoretical and irrelevant information to support an
undervaluation of Plaintiff` s UM claim, while unreasonably ignoring evidence that supports a
finding of coverage under the applicable UM policy.

21 . In arriving at the amount due and owing to Plaintiff, Defendants, by and through their agents,
unreasonably considered that medical damages sustained by Plaintiff were paid by a collateral
source, contrary to Oklahoma law.

22. As of the date of this filing, Defendants have failed to tender any and all sums due and
owing.

CAUSE OF ACTION
COUNT I. BREACH OF CONTRACT AGAINST ARCH lNSURANCE COMPANY

23. Paragraphs 1-24 are incorporated herein by reference.

24. Plaintiff, through operation of Oklahoma law, had a policy of UM coverage with Defendant
Old Republic on the vehicle driven by him.

25. That, at the time of the accident, the third party liable for said accident was underinsured by

operation of law.

 

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26. That pursuant to the terms of the policy of insurance with Defendant Old Republic this is a
factual situation wherein the UM coverage contained in said policy applies to the accident involving
Plaintiff,

27. Plaintiff has requested Defendants tender payment under said policies, and Defendants have
failed to tender said payment in connection with said policies. Plaintiff has performed all conditions
precedent under the policy.

28. Defendant Old Republic has breached its contract of insurance and has wholly
refused or neglected to pay Plaintiff the value of his damages Said failure constitutes a breach of
contract of said insurance policy, and Plaintiff is entitled to a judgment against Defendant Old
Republic for the personal injuries sustained while covered by such contract

COUNT II. BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
AGAINST ARCH lNSURANCE COMPANY AND GALLAGHER BASSETT

29. Paragraphs 1-28 are incorporated herein by reference.

30. Plaintiff, through operation of law, had a policy of UM coverage with Defendants Old
Republic/Gallagher on the vehicle driven by him.

31. Plaintiff has requested Defendants Old Republic/Gallagher tender any and all applicable
polices of uninsured/underinsured motorist coverage.

32. As of the filing of this action, Defendants have yet to tender any UM benefits owed to
Plaintiff.

33. Defendants Old Republic and Gallagher Bassett owed a duty to deal fairly and in good faith

with Plaintiff in the handling of his claim for insurance benefits

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34. In their handling of Plaintiff’ claim under the insurance policy, and as a matter of routine
practice in handling similar claims, Defendants Old Republic and Gallagher Bassett breached their
duty to deal fairly with and act in good faith towards Plaintiff and others in the following respects:

a. Failing to pay Plaintiff the insurance benefits that he was entitled to under the policy at
the time when Defendants knew the Plaintiff was entitled to those benefits;

b. Withholding payment of benefits to the Plaintiff knowing that Plaintiff" s claim for those
benefits was valid;

c. Refusing to honor Plaintiff’s claim without a legitimate, arguable reason and wholly
lacking any evidence or support for its refusal;

d. Unreasonably delaying payment of some benefits and denying Plaintiff’s claim for
some benefits without a reasonable basis;

e. Refusing to pay Plaintiff’s claim for reasons contrary to the express provisions of the
law;

f. Intentionally and recklessly misapplying the provisions of the insurance policy;

g. Using its unequal wealth and bargaining position to overwhelm and take advantage of
the Plaintiff and to effect an economic gain for the Defendants by not paying an amount
that it owed by virtue of the insurance contract;

h. Failing to properly investigate the Plaintiff’s claim for benefits;

i. Failing to properly evaluate the investigation that was done on Plaintiff’s claim for
benefits;

j. Failing to adopt and implement reasonable standards for the prompt investigation and

handling of claims arising under the policy including the claims of the Plaintiff; and

CaS€ 4217-CV-00548-JED-FHl\/| DOCUFT.]&D'[ 2-1 Filed in USDC ND/OK On 09/28/17 Page 11 Of 32

k. Failing to attempt to act in good faith to effectuate a prompt, fair settlement for the
Plaintiff’ s claim.

35. As a direct result of Defendants breach of contract and breach of the implied covenant of
good faith and fair dealing, Plaintiff has suffered the loss of the insurance policy benefits, mental and
emotional distress, anxiety, embarrassment, medical expenses and financial hardship.

COUNT III - PUNITIVE DAMAGES AGAINST ARCH INSURANCE COMPANY
AND GALLAGHER BASSETT

36. Paragraphs 1-35 are incorporated herein by reference.

37. Defendants have acted intentionally, maliciously and/or with reckless disregard for the rights
of the Plaintiff,

38. Accordingly, Plaintiff is entitled to recovery punitive damages against Defendants for their
actions set forth herein in an amount in excess of $75,000.00.

WHEREFORE, based on the foregoing, Plaintiff prays that this Court grant the relief sought
including, but not limited to, actual damages in excess of seventy-five thousand dollars ($75,000.00),
with interest accruing from date of filing of suit, punitive damages and all other relief deemed
appropriate by this Court.

Respectfully submitted,

SMOLEN, SMOLEN & ROYTMAN, PLLC

m

Donald E. Smolen, II (OBA# 19944)
Laura L. Hamilton (OBA# 22619)
701 South Cincinnati Avenue

Tulsa, OK 74119

(918) 585-2667

(918) 585-2669 (Fax)

Attorneys for Plaintiij

 

Case 4:17-cv-00548-.]ED-FHI\/| Docum_ent 2-1 Filed in USDC,ND/OK on 09[28/17 P_age 12 of 32

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY * 3 7
STATE OF OKLAHOMA

TERRY PHILLIP CROW, )
)

Plaintiff, CJMIZ 0 1 7 - 0 3 4 6 1

)
V- )
) ATTORNEY LIEN CLAIMED
)
OLD REPUBLIC GENERAL lNSURANCE )
CORPORATION, a Foreign Corporation; ) DISTRI("'_I` C&URB
AND GALLAGHER BASSETT SERVlCES, ) F l
INC., a Foreign Corporation, )
) SEP 8 2017
Defendants ) DON NEWBERRY, Court Clerk
STATE OF OKLA. TULSA COUNTY
ORIGINAL SUMMONS

 

SERVE BY U.S. CERTIFIED MAIL, RETURN RECEIPT REQUESTED

GALLAGHER BASSETT SERVICES, LLC

Registered Agent: The Prentice-Hall Corporation System, Oklahoma, Inc.
10300 Greenbriar Pl.

Oklahoma City, OK 73159-7653

To the above-named Defendant(s)

You have been sued by the above named plaintiff(s), and you are directed to file a written
answer to the attached petition and order in the court at the above address within twenty (20) days
after service of this summons upon you exclusive of the day of service. Within the same time, a
copy of your answer must be delivered or mailed to the attorney for the plaintiff. Unless you answer
the petition within the time stated judgment will be rendered against you with costs of the action.

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SS“@ 15 30 ay° 7 Dot\iNEWsEaa\/,coun clerk

County Court Clerk

' ~f
By § §§ L/,!“-.. § _`.._______
eputy Court Clerk
(Seal)

This summons and order was served on

 

(Signature of person serving summons)

  
 

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER -_
CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE '
CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE
TIME LIMIT STATED IN THIS SUMMONS.

Return ORIGINAL for filing.

CaS€ 4217-CV-00548-.]ED-FHl\/| DOCUm_€_nl 2-1 Filed in_USDC ND/OK On 09/2_8/17 Page 13 Of 32
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PERSONAL SERVICE
I certify that I received the foregoing Summons the day of , 2017, and that I delivered a copy of
said Summons with a copy of the Petition to the following named defendant personally in County,

at the address and on the date set forth opposite each name, to-wit:

Name of Defendant Address Date of Service

 

 

USUAL PLACE OF RESIDENCE

l certify that I received the foregoing Summons on the day of ,2017, and that on ,I
served by leaving a copy of said summons with a copy of the attached Petition at
, which is his/her dwelling house or usual place of abode, with

, a person then residing therein, who is fifteen (15) years of age or older.

 

 

NOT FOUND
Received this Summons this day of , 2017. I certify that the
following perst’ "’W_"' md"“""""`" "'W"""'r_";- r¢i'§'m” ` ‘

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Fee for sew' so that we can return the card to you. n *°""J
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Subscribed to a 9590 9402 2370 6249 6294 68 n Mm::ymw D°llve¢v E MWM
2. ' " -‘ ' ' " --'--- /"'mnd»r Irnm service ramp Cl’Collect on Del|very Restrlotad Dellvqry Cl Signature C<'.\ntln'm\tlan"‘l
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CERTIFICATE OF SERVICE BY MAIL

I certify that l mailed copies of the foregoing summons with a copy of the Petition to the following named

defe dant at the address shown by certified mail, addressee only, return receipt requested, on the 310'+ day of
A@ , 2017, and receipt thereof on the dates shown:

De end nt Address Where Serv cl _ Dat R '
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Signature o pe on mailing summons

Case__d:17-cv-00548-.]ED-FH|\/| Document 2-1 Filed .inUSDC ND/OK on 09/28/17 Page 14 of 32
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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY

STATE OF OKLAHOMA
TERRY PHILLIP CROW, )
)
Plaintiff, CJ(HSB.U 1 7 - 0 3 4 6 1
)
v. )
) ATTORNEY LIEN CLAIMED
)
OLD REPUBLIC GENERAL INSURANCE )
CORPORATION, a Foreign Corporation; ) t .
AND GALLAGHER BASSETT SERVICES,) DANA LYNN KUEHN
INC., a Foreign Corporation, ) DISTRI T C URT
> F l i. § o
Defendants )
SEP - 8 2017
ORIGINAL SUMMONS

 

DON NEWBERHY, Court Clerk

STATE OF OKLA. T
sERvE BY U.s. cERTIFrED MAIL, RETURN RECEIPT REQUESTED ULSA C°U"W

OLD REPUBLIC GENERAL
lNSURANCE CORPORATION

To the above-named Defendant(s)

You have been sued by the above named plaintiff(s), and you are directed to file a written
answer to the attached petition and order in the court at the above address within twenty (20) days
after service of this summons upon you exclusive of the day of service Within the same time, a
copy of your answer must be delivered or mailed to the attorney for the plaintiff`. Unless you answer
the petition within the time stated judgment will be rendered against you With costs of the action.

Issuedthis 36 day of 5 201']"NN¥:'WB&___l,_rm Gc;ur~’r Cit~`,fit

County Court Clerk

By M¢.A“--

Deputy Court Clerk
(Seal)
This summons and order was served on

 

(Signature of person serving summons)

  
 

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE t
CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE '[
TIME LIMIT STATED IN THIS SUMMONS.

Return ORIGINAL for filing.

Case 4:17-cv-00548-.]ED-FHI\/| Document 2-1 Filed.in USDC N.D/OK on 09/28117 Page 15 of 32

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PERSONAL SERVICE

l certify that I received the foregoing Summons the day of , 2017, and that I delivered a copy of
said Summons with a copy of the Petition to the following named defendant personally in County,
_ at the address and on the date set forth opposite each name, to-wit:

 

 

Name of Defendant Address Date of Service
USUAL PLACE OF RESIDENCE
I certify that I received the foregoing Summons on the day of , 2017, and that on ,I
served by leaving a copy of said summons with a copy of the attached Petition at

 

, which is his/her dwelling house or usual place of abode, with
, a person then residing therein, who is fifteen (15) years of age or older.

 

 

NOT FOUND

Received this Summons this day of , 2017. I certify that the
following persons of the defendant within named not found in said County:

 

-‘ 'r':r 11 "

1.
SENDER: C

Fee forE l Complete items 1,2, and 31 A' ap M n Agem _‘

l Prlnt your name_and address on the reverse x \M M g Addm

. so that we can return the' card to you. , “
Dated this l Attaeh th|s card to the back of the mal|p|ece, B' R°°°“'Ed WH°“NE"’”) w Dai° °f D° "°'y

or on the front if space permits
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SEP 05 2017 -‘.

 

 

 

 

 

 

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CERTIFICATE OF SERVICE BY MAIL

l certify that I mailed copies of the foregoing summons with a copy of the Petition to the following named

dj§jndant all the address shown by certified mail, addressee only, return receipt requested, on the 3|»”` day of

, 2017, and receipt thereof on the dates shown:

Address \_Nhere Served
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Signature o person mailing summons

Case 4:17-cv-00548-.]ED-FHI\/| Document 2-1 Filed in USDC ND/OK on 09/28/17 Page 16 of 32

lN THE DlSTRlCT COURT lN AND FOR TULSA COUNTY
STATE OF OKLAHOMA

lNC., a Foreign Corporation, DON NEWBEHHY’ Court Clerk

STATE OF OKLA. TULSA COUNTY

TERRY PH|LLlP cRov\/, § oJ-2017-03461

§

Plaintiff, §

§
v. §

§ merng count
oLD REPuBLlc GENERAL leuRANcE § $-' § § m
CORPORAT|ON, a Foreign Corporation; § _
and GALLAGHER BASSETT sEvacEs, § SEP 2 2 2911

§

§

§

Defendants,
DEFENDANT GALLAGH§B BASSELT SERV!CES. |NC.’S OR|G|NAL ANSW§B_

COMES NOW, Defendant, GALLAGHER BASSETI` SERV|CES, lNC., and files

this its Origina| Answer in the above-styled and numbered cause of action, as follows:
PARTIES. JUR|SD|CT|ON AND VENQ§

1. Defendant is Without sufficient knowledge or information to admit or deny the
allegations contained in paragraph 1 of Plaintiff's Petition.

2. Defendant is Without sufficient Know|edge or information to admit or deny the
allegations contained in paragraph 2 of Plaintiff's Petition. HoWever, on information and
belief, Gallagher Bassett Services, lnc., admits Old Republic General lnsurance
Corporation is a foreign corporation.

3. Defendant admits it is a foreign corporation authorized to conduct business
in Oklahoma, and denies the remainder of paragraph 3 of Plaintiff’s Petition. Defendant

denies it has substantial ties to Tulsa,

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4. Defendant is Without sufficient knowledge or information to admit or deny the
allegations contained in paragraph 4 of Plaintiff's Petition.

5. Defendant does not dispute jurisdiction in the State of Oklahoma, There is
diversity of parties and the case is properly subject to Federal jurisdiction

STATEIV|ENT OF FACTS

6. Paragraph 6 of Plaintiff's Petition does not require a response.

7. Defendant does not dispute paragraph 7 of Plaintiff's Petition.

8. Defendant does not dispute paragraph 8 of Plaintiff’s Petition.

9. Defendant denies the allegations contained in paragraph 9 of Plaintiff's
Petition. Defendant only has knowledge that Plaintiff alleged to have been involved in an
accident With an individual named Cargill. The existence of and severity of Plaintiff's
claimed personal injury is in dispute.

10. On information and belief, Defendant believes Old Republic does not dispute
the existence of an insurance policy covering the vehicle Plaintiff drove at the time of the
accident Plaintiff alleges occurred.

11. Plaintiff did advise of his intent to pursue a claim and any such notice of
claim Would have been provided to Old Republic, Defendant denies all other allegations
contained in paragraph 11 of Plaintist Petition.

12. Defendant denies all of the allegations contained in paragraph 12 of
Plaintiff's Petition.

13. Defendant denies all of the allegations contained in paragraph 13 of
Plaintiff's Petition.

14. Defendant denies all of the allegations contained in paragraph 14 of

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Plaintiff's Petition.

15. Defendant denies the allegations contained in paragraph 15 of Plaintiff's
Petition. Defendant conditions the denial to state Plaintiff did submit a demand for
payment at some point in time and provided some records of his selection. The remainder
of this paragraph is denied.

16. Defendant admits that records pertaining to some of Plaintiff's medical
complaints Were received. lt is not disputed that Liberty |Vlutual paid What may have been
its policy limits to Plaintiff. Defendant denies the remainder of the allegations contained in
paragraph 16 of Plaintiff's Petition.

17. Defendant admits an offer of payment Was made by or on behalf of Old
Republic. Defendant denies the remainder of the allegations contained in paragraph 17 of
Plaintiff’s Petition.

18. Defendant denies all of the allegations contained in paragraph 18 of
Plaintiff's Petition.

19. Defendant denies all of the allegations contained in paragraph 19 of
Plaintifl"s Petition.

20. Defendant denies all of the allegations contained in paragraph 20 of
Plaintiff’s Petition.

21. Defendant denies all of the allegations contained in paragraph 21 of
Plaintiff's Petition.

22. Defendant denies all of the allegations contained in paragraph 22 of

Plaintist Petition.

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e 4 17 cv 00548 .]ED-FHl\/| Document 2-1 Filed in USDC ND/OK on 09/28/17 Page 19 of 32

CAUSE OF ACT|ON

COUNT i. BREACH OF CONTRACT AGA|NST ARCH lNSURANCE COMPANY

23. Paragraph 23 does not require a response. Pleading further, Plaintiff
references Arch insurance Company and Defendant denies involvement With Arch
insurance Company as related to Plaintiff's ciaim.

24. Defendant denies the allegations contained in paragraph 24 of Plaintiff's
Petition With regard to the phrase “by operation of iaw.”

25. Defendant denies ali of the allegations contained in paragraph 25 of
Plaintiff's Petition.

26. Defendant denies all of the allegations contained in paragraph 26 of
Plaintiff’s Petition.

27. Defendant denies all of the allegations contained in paragraph 27 of
Plaintiff’s Petition.

28. Defendant denies ali of the allegations contained in paragraph 28 of
Plaintiffs Petition.
COUNT il. BREACH OF THE DUTY OF GOOD FAITH AND FAlR DEALiNG AGA|NST

ARCH lNSURANCE COMPANY AND GALLAGHER BASSETT

29. Paragraph 29 of Plaintiff's Petition does not require a response. Pleading
further, Plaintiff references Arch insurance Company and Defendant denies involvement
With Arch insurance Company as related to Plaintiff's claim,

30. Defendant denies ali of the allegations contained in paragraph 30 of
Plaintiff's Petition. Defendant is not an insurance carrier and does not issue policies of

insurance.

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31. Defendant denies ali of the allegations contained in paragraph 31 of
Plaintiff's Petition. Defendant does not deny Plaintiff has made one or more demands,
including the claim for money in this iawsuit. The remainder of this paragraph is denied.

32. Defendant denies ali of the allegations contained in paragraph 32 of
Plaintiff’s Petition.

33. Defendant denies all of the allegations contained in paragraph 33 of
Plaintiff's Petition.

34. Defendant denies ali of the allegations contained in paragraph 34 of
Plaintiff’s Petition, and Defendant denies all of the allegations contained in sub-
paragraphs a. through k of paragraph 34 of Plaintiff's Petition.

35. Defendant denies ali of the allegations contained in paragraph 35 of
Plaintiff’s Petition.

COUNT ill - PUNiTlVE DAMAGES AGA|NST ARCH lNSURANCE COMPANY AND
GALLAGHER BASSETT

36. Defendant denies ali of the allegations contained in paragraph 36 of
Plaintiff’s Petition. Pleading further, Plaintiff references Arch insurance Company and
Defendant denies involvement with Arch insurance Company as related to Plaintiffs
ciaim.

37. Defendant denies all of the allegations contained in paragraph 37 of
Plaintiff's Petition.

38. Defendant denies all of the allegations contained in paragraph 38 of
Plaintiff’s Petition.

F’RAYER ALLEGED BY PLAlNTiFF

Defendant denies Plaintiff is entitled to any and ali of relief for which he prays.
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AFF|RMAT|VE_DEFENSES
39. Defendant denies each and every allegation of Plaintiff’s Petition not

specifically admitted herein.
40. Plaintiff’s claims are barred by the doctrine of estoppei.
41. Plaintiff’s claim may be barred by limitations
42. Plaintiff has failed to mitigate his damage, if any,

43. To the extent Plaintiff prays for an award of punitive damages, Defendant
invokes its rights under the due process clause of thel Fifth Amendment of the United
States Constitution as applied to the states through the Fourteenth Amendment of the
United States Constitution. Defendant affirmatively pleads that Plaintiff’s claim for punitive
damages violates the due process clauses of the Fifth and Fourteenth Amendments

inasmuch as:

1. Punltive damages can be assessed in an amount left to the discretion of the
jury and judge;

2. To the extent an improper standard and burden of proof is utilized;

3. While subjected to the risk of a potential award, Defendant does not have
the right to refuse to testify against itseif, but must in fact take the stand
and/or give deposition testimony or subject itself to the consequences of a
default judgment;

4. The assessment of punitive damages is not based upon a clearly defined
statutory enactment setting forth a specific intentiona|ity requirement or the
specific prerequisites of such a finding and in effect, such damages can be
awarded even though there are no special standards, limits or other
statutory requirements to define the means and scope and limit of such
awards, rendering such awards unduly vague and unsupportable under the
requirements of due process; and

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5. in essence, Defendant is subject to all of the hazards and risk of what
amounts to a fine, and in factl such awards often exceed normal criminal
fines, but Defendant receives none of the basic rights accorded to criminal
Defendants when they are subjected to possible criminal penalties

44. Pleading further, 23 O.S. Sec. 39.1 is unconstitutional Any punitive damage

claim must be denied as premised on a statute that is vague and the enforcement of
which would constitute an unlawful taking.

45. The damages alleged by Plaintiff and which are denied, were solely caused

by the conduct of a third party over which Defendant has no control or dominion.

46. Punltive damages may not be awarded on any standard less than by clear

and convincing evidence.

47. Defendant denies privity of contract with Plaintiff. Defendant specifically

denies existence of a contract between it and Plaintiff.

48. Defendant may discover additional affirmative defenses as this matter
proceeds and reserves the right to assert those affirmative defenses at that time.
Therefore, Defendant alleges each and every defense available under FED. R. Clv. P. 8(0)
to the extent such defense may become applicable as disclosure and/or discovery

proceeds

49. Defendant demands a trial by jury.

50. Contrary to Plaintiff’s Complaint, Gallagher Bassett Services, lnc., is
not an insurer. Gallagher Bassett Services, lnc., owes no duty of care to Plaintiff.

51, Gallagher Bassett Services, lnc., has no special relationship with

Plaintiff.
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52. Gallagher Bassett Services, lnc., disputes it owes Plaintiff a duty of
good faith and fair dealing.

53. Gallagher Bassett Services, lnc., was not a Pian Administrator with
primary control over a determination of benefits to be paid to Plaintiff.

54. Gallagher Bassett Services, lnc., compensation is not tied to
premiums paid or increase or decrease in relation to losses.

55. Gallagher Bassett Services, lnc., does not share the risk of Plaintist
claimed loss with Co-Defendant, Old Republic Genera| insurance Corporation.

56. Gallagher Bassett Services, |nc.’s authority with regard to Plaintiff was
limited or alternativeiy, no authority Was extended.

57. Gallagher Bassett Services, lnc., does not bear the financial risk of
loss for Plaintiff’s claim asserted against Old Republic General insurance

Corporation.

PRAYER FOR REL|EF

 

WHEREFORE, Defendant requests that Plaintiff take nothing by his Petition;
that the Petition be dismissed; that Defendant be awarded its costs and
reasonably-incurred attorneys’ fees and that the Court award Defendant such other

relief as may be just and proper.

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Respectfully submitted,

James Nicholas Crews

OBA #30850

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P. O. Box 701290

Tulsa, Oklahoma 74170

(913) 794-3186 Teiephone
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and

Deanne C. Ayers

Pending Pro Hac Vice

AYERS & AYERS

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ATTORNEYS FOR DEFENDANT
GALLAGHER\BASSETT SERV|CES, lNC,

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l hereby certify that on theZZ&day of September, 2017, a true and correct copy of
the foregoing document was served on the Plaintiff by mailing the same to the Plaintiff’s
attorney of record, via certified maii, return receipt requested, as follows:

Donald E. Smolen
Laura L. Hamilton
701 South Cincinnati Avenue

Tulsa,Oklahoma 74119
722 fagg

’James'Nichoias Crews

 

 

 

   
 

 

 

 

   
  
   
 

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
STATE OF OKLAHOMA

got --
INC., a Foreign Corporation, stl\l t

TERRY PHILLIP CROW, )
)
Plaintiff, ) WW
) - _r&n"atc'l` C`\ ‘ '
v_ ) CJ-2017-3461 g ha § mi
) nn
oLD REPUBLIC GENERAL lNSURANCE ) Judge Kuehn Sf-P 2 2 2
CORPORATION, a Foreign Corporation; ) h vw l CR_R`(| own wait
AND GALLAGHER BASSETT SERVICES, ) DON lill_"c §§ nasa CIJUNF'
)
)
)

Defendants

DEFENDANT OLD REPUBLIC GENERAL lNSURANCE
CORPORATI()NS’ ANSWER TO PLA]NT[FF’S PETITION

Defendant Old Republic General Insurance Corporation (“Old Republic”) submits the

following answer to Plaintiff’s Petition;

PARTIES, .I`URISDIC'[`ION AND VENUE

l. Upon information and belief, Old Republic admits the allegations in Paragraph l
of the Petition.
2. Old Republic admits it is a foreign corporation which does business in Oklahoma,

Old Republic denies it has “substantial ties” to Tulsa County, Oklahoma
3. Old Republic admits Gallagher Bassett is a foreign corporation Which does
business in Oklahoma Old Republic denies the remaining allegations in Paragraph 3 of the
Petition.
4. Old Republic admits the allegations in Paragraph 4 of the Petition.
5. Old Republic admits the allegations in Paragraph 5 of the Petition.
STATEMENT OF FACTS

6. Paragraph 6 of the Petition does not require an answer of Old Republic.

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7. Upon information and belief, Old Republic admits the allegations in Paragraph 7
of the Petition.

8. Upon information and belief, Old Republic admits the allegations in Paragraph 8
of the Petition.

9. Old Republic admits Plaintiff was involved in an accident with Mr. Cargill on
November 9, 2015. Old Republic denies the remaining allegations in Paragraph 9 of the Petition.

10. Old Republic admits the allegations in Paragraph 10 of the Petition.

ll. Old Republic admits the allegations in Paragraph 11 of the Petition.

12. Old Republic admits Gallagher is involved in Plaintiff’s claim for Ul\/I/UIl\/I
benefits. Old Republic denies the remaining allegations in Paragraph 12 of the Petition.

13. Old Republic denies the allegations in Paragraph 13 of the Petition.

14. Old Republic denies the allegations in Paragraph 14 of the Petition.

15. Old Republic admits that on June 2, 2017 Plaintiff submitted a UM/UIM demand
to Defendants with a CD containing medical records along with a medical authorization but
otherwise denies the allegations of Paragraph 15 of the Petition as worded. \

16. Old Republic admits that the records and bills submitted on June 2, 2017 reflected
a two-level fusion and that by June 2, 2017 Liberty had tendered its policy limits of $100,000
and that Plaintiff demanded payment of his Ul\/I/Ull\/I claim but otherwise denies the allegations
in Paragraph 16 of the Petition.

17. In addition to the $100,000 Plaintiff received from Liberty, the tortfeasor’S
liability carrier, Old Republic admits it offered Plaintiff an additional $50,000 from his UM/Ull\/I
policy. Otherwise Old Republic denies the remaining allegations in Paragraph 17 of the Petition

as worded.

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18. Old Republic denies the allegations in Paragraph 18 of the Petition as worded.

19. Old Republic asserts that the referenced August 21, 2017 letter speaks for itself
and otherwise denies the allegations in Paragraph 19 of the Petition as worded.

20. Old Republic denies the allegations in Paragraph 20 of the Petition.

21. Old Republic denies the allegations in Paragraph 21 of the Petition.

22. Old Republic denies the allegations in Paragraph 22 of the Petition.

CAUSE OF ACTION
COUNT I. BREACH OF CONTRACT AGAINST ARCH (sic) INSURANCE COMPANY

23. Paragraph 23 of the Petition does not require an answer of Old Republic.

24. Old Republic admits that Plaintiff has Ul\/l/UIl\/I coverage through his policy but
otherwise denies the allegations in Paragraph 24 as worded.

25. Old Republic denies the allegations in Paragraph 25 of the Petition.

26. Old Republic denies the allegations in Paragraph 26 of the Petition.

27. Old Republic denies the allegations in Paragraph 27 of the Petition.

28. Old Republic denies the allegations in Paragraph 28 of the Petition.

COUNT II. BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
AGAINST ARCH lNSURANCE COMPANY (sic) AND GALLAGHER BASSETT

29. Paragraph 29 of the Petition does not require an answer of Old Republic.

30. Old Republic denies the allegations in Paragraph 30 of the Petition.

31. Old Republic admits the allegations in Paragraph 31 of the Petition.

32. Old Republic denies the allegations in Paragraph 32 of the Petition.

33. Old Republic admits it owes certain duties afforded by law to an insured. Old

Republic denies it breached any duty owed to Plaintiff.

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34. Old Republic denies the allegations in Paragraph 34 of the Petition, including
subparts (a) through (l<).
35. Old Republic denies the allegations in Paragraph 35 of the Petition.

COUNT III - PUNITIVE DAMAGES AGAINST ARCH lNSURANCE COMPANY (sic)

36.

37.

38.

39.

AND GALLAGHER BASSETT
Paragraph 36 of the Petition does not require an answer of Old Republic.
Old Republic denies the allegations in Paragraph 37 of the Petition.
Old Republic denies the allegations in Paragraph 38 of the Petition.

Old Republic denies the allegations and request for damages contained in the

prayer for relief or any other portion of the Petition and demands strict proof thereof.

Plaintiff.

5.

AFFIRMATIVE DEFENSES
Statute of limitations
Plaintiff’s Petition fails to state a claim upon which relief may be granted.
Old Republic did not breach any contract with Plaintiff.

At all pertinent times Old Republic acted in good faith and dealt fairly with

To the extent Plaintiff`s Petition seeks exemplary or punitive damages, it violates

the double jeopardy clause and Old Republic’s right to procedural due process under the Fifth

and Fourteenth Amendments of the United States Constitution, as well as the Constitution of the

State of Oklahoma, Old Republic’s right to protection from excessive fines as provided in the

Eighth Amendment of the United States Constitution and the Constitution of the State of

Oklahoma, and violates Old Republic’s right to substantive due process as provided in the Fifth

and Fourteenth Amendments of the United States Constitution and the Constitution of the State

of Oklahoma, Further, Plaintiff s demand for punitive damages is barred by the “ex post facto”

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clause of Aiticle I, Section 10 of the United States Constitution, and the corresponding provision
of the Oklahoma Constitution and, therefore, should be dismissed.

6. Further, to the extent Plaintiff seeks exemplary or punitive damages, Plaintiff’s
Petition violates Old Republic’s rights under the contracts clause of Article I, Section 10 of the
United States Constitution, as applicable

7. Further, to the extent Plaintiff seek exemplary or punitive damages, such claim
must be stricken because Oklahoma’s punitive damage statute, 23 O.S. §9.1 does not limit the
jury’s consideration of harm to this particular Plaintiff, but instead allows consideration of harm
or potential harm to others, and thereby constitutes an unlawful taking without due process and
violates the interstate commerce clause of the United States Constitution. See, BMW of North
Amerz'ca v. Gore, 517 U.S. 559, 116 S.Ct. 1589 (1996); Phillips Morrz's USA v. Williams, 127
S.Ct. 1057 (2007); Moody v. Fora' Motor Company, 506 F.Supp.2d 823 (N.D. Okla. 2007).

8. Further, to the extent Plaintiff seeks exemplary or punitive damages, such Should
be denied due to the following additional reasons:

a. An award of compensatory damages, if granted, would fully compensate
Plaintiff and Plaintiff has no standing to recover funds assessed against Old Republic as
punishment or as an example to others;

b. Plaintiff s claim for punitive damages should be subject to the requirement
that in order to provide due process to Old Republic, pursuant to the protections of the Fifth,
Sixth, Eighth, and Fourteenth Amendments to the Constitution of the United States of America
and the Constitution of the `State of Oklahoma, Plaintiff should be compelled to establish any
Such claim for punitive damages beyond a reasonable doubt and that any alleged award should

be required to be established by the determination of a unanimous jury;

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c. Since the relative position of the parties may be considered under the laws
of this state and other states an award of punitive damage would constitute an impermissible
punishment of the status of Old Republic;

d. Oklahoma law providing for a possible award of punitive damages is
impermissibly vague, imprecise and inconsistent and, therefore, is violative of the due process
clause and the Fifth and Fourteenth Amendments of the United States Constitution; and

e. Since there are multiple defendants as parties to this action, because of the
likelihood of confusion of submission of claims of punitive damages against various and
multiple defendants with differing circumstances, such a submission would violate the
Defendants’ right of a fair trial and its rights of equal protection and due process of law under the
Constitutions of the United States and the State of Oklahoma.

9. Further, as to any punitive damage claims, Old Republic is entitled to a trial which:

a. bifurcates the issues of liability and punitive damages; and

b. establishes an effective limit of jury discretion as to the amount, if any, of
any punitive damages to be awarded.

10. 23 O.S. §9.1 is unconstitutional in that it discriminates against corporations and
wealthy persons

11. Old Republic specifically reserves the right to amend its Answer and add
additional affirmative defenses as discovery continues

WHEREFORE, having fully answered, Old Republic prays that Plaintiff take nothing by
way of his Petition and that it be dismissed with an award of attorneys’ fees and costs to Old

Republic for its defense of this matter, and for any further relief the Court deems just and

equitable.

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Respectfully submitted,

/M@/Al

Cur§s J. Roberts, oBA #19923

FRANDEN | FARRls | QUlLLlN
GooDNlGHT + RoBERTs

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and

Of Counsel (Pro Hac Admission Sought)
David J. Schubert

Texas State Bar No. 17820800

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Telephone: (214) 744-4400

Facsimile: (214) 744-4403

ATTORNEYS FOR DEFENDANT
OLD REPUBLIC

CE`RTIFICATE OF SERVICE

I certify that on the Z' z day of September, 2017, l caused a true and correct copy of
the above document to be delivered, via U.S. Mail and electronic mail, to the following:

Donald E. Smolen, II

Laura L. Hamilton

SMOLEN SMOLEN & ROYTMAN
701 South Cincinnati Ave.
Tulsa, Oklahoma 741 19

 

Curtis J. Roberts

